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 7
                             UNITED STATES DISTRICT COURT
 8                                DISTRICT OF NEVADA
                                         -oOo-
 9
     UNITED STATES OF AMERICA,                              2:15-CR-00014-APG-VCF
10
                             Plaintiff,               GOVERNMENT’S SUPPLEMENTAL
11                                                    RESPONSE TO DEFENDANT’S MOTION
                 vs.                                  TO RECONSIDER
12                                                    (Doc. #289)
     OMAR QAZI,
13
                            Defendant.
14
                                                CERTIFICATION
15
            Pursuant to LCR 12-1, undersigned counsel hereby certifies that this response is filed in a
16
     timely manner.
17
            COMES NOW the United States of America, by and through STEVEN MYHRE, Acting
18
     United States Attorney, and ALEXANDRA MICHAEL, Assistant United States Attorney, and
19
     submits this Supplemental Response to Defendant’s Motion to Reconsider and Request for
20
     Evidentiary Detention Hearing by OMAR QAZI (hereinafter “the Defendant”), pro se, Doc. #289,
21
     respectfully requesting the Court deny the Defendant’s Motion.
22
                                                PROCEDURAL HISTORY
23
            On March 24, 2017, Magistrate Judge Leen held a Motion Hearing as to Defendant’s Motion
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 1   to Reconsider, Dkt. #289, and Defendant’s Motion for an Evidentiary Detention Hearing, Dkt. #290.
 2   These Motions were referred for a hearing from the District Judge Gordon. The government would
 3   note that the defendant has had at least two prior hearings relating to detention, one on February 24,
 4   2015 in front of Magistrate Judge Leen, see Dkt. #13, where the defendant through defense counsel
 5   submitted to detention, Id. and Dkt. #14, and second, on May 26, 2016 in front of District Judge
 6   Gordon, see Dkt. #182, where the defendant was remanded to custody after the hearing, Id. The
 7   government would also note that to date, the defendant either through defense counsel or pro se has
 8   filed approximately sixty-five (65) motions for the Court’s consideration.1
 9            On January 20, 2015 a federal grand jury returned an indictment charged the defendant with
10   one count of Felon in Possession of a Firearm in violation of 18 UCS § 922(g)(1) and 924(a)(2).
11   Dkt. #1. On February 24, 2015 the defendant appeared for his initial appearance and arraignment
12   and plea.2 Dkts. #13 &14. On February 24, 2015 the defendant was ordered detained by Magistrate
13   Judge Leen. Id. On April 15, 2015 the parties filed a stipulation to continue trial and the Court
14   granted the stipulation deeming the continuance excludable under the Speedy Trial Act and excluded
15   the time. Dkts. #16 & 17.3 Trial was re-set for August 10, 2015. Dkt. #17. On May 27, 2015
16   defendant filed a Motion to Suppress. Dkt. #18. On June 24, 2015, Magistrate Judge Ferenbach
17   issued an R&R denying defendant’s Motion to Suppress. Dkt. #23. On July 24, 2015 defendant
18   filed two Motions, one requesting the Court to Conduct a Faretta Hearing. Dkts. #27 & 28. On
19   August 4, 2015 the government filed a motion to continue trial given there was an outstanding
20   Motion to Suppress. Dkt. #31. On August 5, 2015, at calendar call, District Judge Gordon adopted
21   the R&R denying Defendant’s Motion to Suppress. On August 5, 2015 District Judge Gordon
22
     1
       This estimate does not include Notices, Supplements or Objections.
23   2
       Commencement of the seventy (70) day period under The Speedy Trial Act (18 USC § 3161(c)(1)).
     3
       Time from when the defendant initially appeared in District Court on this matter until the first stipulation is fifty (50)
24   days.

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 1   continued trial pursuant to 18 USC § 1361(h)(7). Dkt. #33. On August 6, 2015, defendant is
 2   granted the right to represent himself and trial is continued until September 28, 2015 and the
 3   continuance is deemed excludable under the Speedy Trial Act and the time is excluded by District
 4   Judge Gordon. Dkt. #35. On August 12, 2015 the defendant files eight (8) pro se Motions. See
 5   Dkts. #37-44. The defendant files three (3) more pro se Motions on August 17, 2015. See Dkts.
 6   #45-47. On August 26, 2015 the defendant files four (4) more pro se Motions. See Dkts. #48-51.
 7   On September 14, 2015 the defendant files three (3) pro se Motions. See Dkts. #19-21. On
 8   September 17, 2015 the defendant files four (4) pro se Motions. One of the Motions sought
 9   reasonable time to prepare a defense. Dkt. #68. On September 21, 2015 the parties filed a
10   stipulation to continue trial and on September 22, 2015 the Court granted the stipulation deeming the
11   continuance excludable under the Speedy Trial Act and excluded the time. Dkts. #73 & 75. Trial
12   was re-set for November 30, 2015. Dkt. #75. On October 26, 2015 the defendant filed four (4) pro
13   se Motions. See Dkts. #86-88. On November 5, 2015 the defendant filed two (2) pro se Motions.
14   See Dkts. #91 & #92. On November 10, 2015, the government filed a motion to continue trial based
15   on the unavailability of an essential witness. Dkt. #93. At this time there were at least five (5) of
16   defendant’s Motions pending (see Dkts. #26 – 29 and #30-31) along with at least five (5) of
17   defendant’s Objections to findings made by Magistrate Judge Ferenbach pending (see Dkts. 54, 60,
18   76, 69, and 90). On November 11, 2015, District Judge Gordon Court granted the motion to
19   continue based on an essential government witness being unavailable and deemed the continuance
20   excludable under the Speedy Trial Act and excluded the time. See 18 section 3161(h)(3)(A) and
21   Dkt. #96. Trail was re-set for April 4, 2016. Id. On November 17, 2015, November 30, 2015, and
22   December 4, 2015, the defendant filed a pro se Motions. See Dkts. #99, 101, 103, and 107. On
23   December 21, 2015 the defendant filed two (2) pro se Motions. See Dkts. #112 & 113. On
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 1   December 31, 2015 the defendant files two (20 pro se Motions. See Dkts. #115 & 116. On January
 2   13, 2016, January 19, 2016, January 26, 2016 and January 29, 2016 the defendant filed a pro se
 3   Motions. See Dkts. #121, 124, 128, and 129. On March 3, 2016, and March 14, 2016, the defendant
 4   filed pro se Motions, one of which was a request for additional time to respond to Government’s
 5   Motion to strike defendant’s Second Motion to Suppress. See Dkts. #154 & 162. On March 15,
 6   2016 the defendant filed a pro se Motion requesting appointment of counsel. See Dkt. #161. On
 7   March 18, 2016 the parties filed a stipulation to continue trial and on March 22, 2016 District Judge
 8   Gordon granted the stipulation and deemed the continuance excludable under the Speedy Trial Act
 9   and excluded the time. See Dkts. #167 &169. Trial was re-set for July 25, 2016. Dkt. #169. On
10   March 23, 2016, defendant’s Motion for appointment of counsel was granted and Jennifer Waldo,
11   Esq. was appointed as CJA counsel for defendant. Dkts. #161 & 170. On May 26, 2016 the
12   defendant appeared for a hearing regarding detention in front of District Judge Gordon. Dkt. #182.
13   The Court reviewed the relevant filings, heard arguments from both parties and reviewed an updated
14   pre-trial services report and ultimately the defendant was remanded to custody. See Dkt. #182. On
15   June 30, 2016, defendant, through defense counsel, filed a Motion to Suppress. Dkt. #192. On July
16   5, 2016, the parties filed a stipulation and the Court granted the stipulation deeming the continuance
17   excludable under the Speedy Trial Act and excluded the time. Dkts. #193 & 194. Trial was re-set
18   for October 17, 2016. Dkt. #194. On August 3, 2016, Magistrate Judge Ferenbach held and
19   evidentiary hearing on Defendant’s Motion to Suppress. Dkt. #198. On August 4, 2016, Magistrate
20   Judge Ferenbach issued an R&R in part denying and in part granting Defendant’s Motion to
21   Suppress. Dkt. #199. On September 20, 2016 the defendant filed Motions requesting the Court
22   conduct a Faretta hearing and permit the defendant to proceed pro se. On September 27, 2016
23   magistrate Judge Ferenbach granted the defendant’s request to proceed pro se. Dkt. #208. On
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 1   October 6, 2016 defendant filed two pro se Motions, one of which was a request to extend the
 2   Motion deadline. See Dkts. #210 & 212. On October 10, 2016 the defendant filed a pro se Motion.
 3   Dkt. #211. On October 11, 2016, District Judge Gordon granted defendant’s Motion to extend the
 4   Motions deadline (new deadline is October 25, 2016) and the parties stipulate to continue trial. Dkt.
 5   #213. Trial is continued pursuant to 18 USC § 3161(h)(7)(A). Id. Trial was re-set for January 9,
 6   2017. Id. On October 21, 2016 the defendant files two (2) pro se Motions. See Dkts. #219 & 222.
 7   On October 25, 2016 the defendant files a pro se Motion. Dkt. #231. On October 26, 2016 the
 8   defendant files two (2) pro se Motions. See Dkts. #229 & 230. On November 29, 2016 defendant
 9   files two pro se Motions, one was for an extension of time. Dkt. #246 & 247. On December 1, 2016
10   the government filed a Motion to continue trial. Dkt. #245. On December 6, 2016, the defendant
11   files two (2) pro se Motions. Dkt. #249 & 250. On December 16, 2016, District Judge Gordon
12   holds a hearing where a number of outstanding Motions are resolved, the government withdraws its
13   Motion to continue trial, the defendant indicates he does not waive his right to a speedy trial, and the
14   Court notes trial will commence as scheduled on January 9, 2017. Dkt. #268. At that time at least
15   two evidentiary issues were outstanding: the R&R in part denying and in part granting Defendant’s
16   Motion to Suppress and Defendant’s Motion in Limine. Dkts. #231 & 199. On December 30, 2016
17   the defendant pro se filed a notice of expert testimony/request for DNA case file. Dkt. #274. On
18   January 3, 2017, District Judge Gordon held calendar call where he resolved a number of Motions to
19   include adopting the R&R in part denying and in part granting Defendant’s Motion to Suppress and
20   granted Defendant’s Motion in Limine. Dkt. #281. District Judge Gordon continued calendar call
21   until January 4, 2017. Id. On January 4, 2017 calendar call continued and the government notes its
22   intent to file an appeal regarding the Court’s rulings on Defendant’s Motion to Suppress and
23   Defendant’s Motion in Limine. Dkt. #285. The government also objected to the timeliness and
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 1   sufficiency of defendant’s expert notice. Id. District Judge Gordon continued calendar call until
 2   January 5, 2017. Id. On January 4, 2017 the government filed a Notice of Appeal and the appeal
 3   was given USCA Case Number 17-10004. Dkts. #282 & 287. On January 5, 2017 calendar call
 4   continued and District Judge Gordon, pursuant to Federal Rules of Appellate Procedure 4(b)(5)
 5   determined trial would be postponed. Dkt. #288. District Judge Gordon determined that upon the
 6   Ninth Circuit issuing its decision the court will then issue a new order regarding trial. Id. On
 7   January 23, 2017 defendant filed two (2) pro se Motions. See Dkts. #290 & 291. On February 16,
 8   2016 defendant filed two (2) pro se Motions. See Dkts. #297 & 298. On March 24, 2017,
 9   Magistrate Judge Leen held a Motion Hearing as to Defendant’s Motion to Reconsider, Dkt. #289,
10   and Defendant’s Motion for an Evidentiary Detention Hearing, Dkt. #290. As a result of that
11   hearing, Magistrate Judge Leen permitted the government to file supplemental briefing on the issues
12   of: (1) a potential due process violation in terms of defendant’s continued detention and (2) the
13   defendant’s potential custodial sentence for this case.
14                                                   ARGUMENT
15   DEFENDANT’S DUE PROCESS RIGHTS HAVE NOT BEEN VIOLATED BY HIS
     CONTINUED PRETRIAL DETENTION
16
            In support of his argument, defendant lists out the government’s Motions to continue trial.
17
     See Dkts. #31, 93 and 245. The government submits the first Motion was deemed moot at calendar
18
     call the following day when the Court continued trial based on defendant’s pending Motion
19
     requesting to represent himself. The government’s Motion did not result in the trial being continued
20
     or delayed. The government’s second Motion was based on the unavailability of an essential
21
     witness, the government’s DNA expert. As noted above, at the same time this Motion was filed, the
22
     court had at least ten (10) matters pending. The government submits the defendant does not
23
     appreciate the significant effect his extensive Motions litigation has on the Court’s and the
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 1   progression of the case. The excludability of the pretrial motion delay has been described as
 2   “automatic”. In United States v. Tinklenberg, 131 S. Ct. 2007 (2011), the Court held that pretrial
 3   motion delay “does not contain a causation requirement.” Id. at 2010-2011. A pretrial motion
 4   generates excludable delay “irrespective of whether it actually causes, or is expected to cause delay
 5   in starting a trial.” Id. at 2011. Under The Speedy Trial Act, 18 USC 3161(h)(1)(D), delay resulting
 6   from any pretrial motion, from the filing of the motion through the conclusion of the hearing on, or
 7   other prompt disposition of, such motion is excluded. The government submits this continuance and
 8   the timeframe from November 10, 2015 until April 4, 2015 was deemed excludable by the Court and
 9   was not improperly motivated by the government nor was the delay solely based on the government.
10   Defendant continued to file substantive Motions during this timeframe. The government’s third
11   Motion to continue the trial was shortly thereafter withdrawn at calendar call and did not result in
12   the trial date being continued or delayed.
13          Next defendant makes argument regarding the validity of the government’s appeal. The
14   government submits its appeal was taken in a timely manner, one day after District Judge Gordon’s
15   decision, on an issue that has been highly contested throughout this district for the past year. In this
16   case, defendant made an inculpatory statement after being provided Miranda warnings virtually
17   identical to the Supreme Court’s articulation in Miranda v. Arizona of the required warning. The
18   Ninth circuit has explicitly stated that a “verbatim reading would, in all instances, preclude claims
19   such as [the Defendant’s]. See Noti, 731 F.2d 610, 615 (9th Cir. 1984). Additionally, the
20   government submits the reasoning and rationale in the Ninth Circuit’s recent decision in United
21   States v. Loucious, 16-10121 further supports the government’s position. The government appealed
22   pursuant to 18 USC § 3731. Pursuant to 18 USC § 3161(h)(1)(C) any delay resulting from any
23   interlocutory appeal is excluded.
24
                                                        7
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 1          Defendant next brings up the issue of weight of the evidence. The government submits that
 2   18 USC § 3143(c) allows a court to consider release or detention of a defendant pending appeal by
 3   the government. The statute provides:
 4          The judicial officer shall treat a defendant in a case in which an appeal has been taken by the
            Untied States under section 3731 of this title, in accordance with section 3142 of this title
 5          unless the defendant is otherwise subject to a release or detention order.
 6   For purposes of determining detention under 18 USC 3142(e)(1) the judicial officer shall consider
 7   factors listed under 18 USC 3142(g) which includes (2) the weight of the evidence against the
 8   person. Defendant argues that the Court should look at the weight of the evidence without the
 9   inculpatory statement given it was suppressed. The government disagrees. The Court should
10   consider said suppressed evidence pursuant to the “cost-benefit analysis” set forth in United Sates v.
11   Leon, 468 U.S. 897, 907 (1984). In Leon, the Supreme Court concluded the exclusionary rule did
12   not apply automatically to exclude evidence for all purposes. See United States v. Jay, 261
13   F.Supp.2d 1235 (D. Oregon 2003). The Ninth Circuit has permitted suppressed evidence to be
14   presented at sentencing and revocation hearings. See United States v. Kim, 25 F.3d 1426 (9th Cir.
15   1994) and United States v. Hebert, 201 F.3d 1103 (9th Cir. 2000). Here, defendant admitted post
16   Miranda warnings that he possessed the fiream that was found in the car he was driving.4 Therefore,
17   defendant’s statement should be considered for purposes of evaluating the weight of the evidence.
18          Next defendant argues substantive due process requires that he be released from pre-trial
19   detention. The government submits while the defendant has been in federal custody since February
20   24, 2015 he has been in front of both Magistrate Judge Leen and District Judge Gordon for detention
21   hearings. Defendant has also submitted numerous filings regarding his detention which have been
22

23
     4
      Defendant admitted to law enforcement post Miranda that he possessed the firearm that was found
24   in the car.
                                                       8
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 1   considered by the Court. Defendant cites to a number of cases that are distinguishable from the
 2   instant case. The cases presented by defendant deal with situations were individuals were
 3   committed to mental institutions post not guilty verdict due to insanity. Another case talks about a
 4   student’s due process rights being violated when there was a school suspension absent a hearing.
 5   These factual scenarios are dissimilar and here defendant has had the opportunity to meaningfully
 6   contest the factual allegations considered in support of his pretrial detention.
 7          Defendant then moves on to cite United States v. Salerno, 107 S. Ct 2095 (1987) but in
 8   Salerno the Supreme Court held that the Bail Reform Act authorization of pretrial detention on the
 9   basis of future dangerousness constituted permissible regulation that did not violate substantive due
10   process, and was not impermissible punishment before trial and that the due process clause did not
11   categorically prohibit pretrial detention imposed as a regulatory measure on the grounds of
12   community danger, without regard to the duration of detention. The findings of Salerno do not
13   support defendant’s argument. Furthermore, in Salerno, the government’s motion for pretrial
14   detention was based on the ground that no condition of release would assure the safety of the
15   community or any person. Salerno at 743. Here, defendant was detained both as a risk of
16   nonappearance and danger to the community. Defendant then goes on to cite a number of cases
17   from other Circuits and other districts all of which were decided prior to Salerno.
18          Defendant next argues that the Speedy Trial Act requires that he be released from pre-trial
19   detention. The government submits the defendant presented no legal authority to support this
20   contention. Rather defendant discussed the legislative history of the Bail Reform Act and the
21   Speedy Trial Act. Defendant has not established a violation of his right to a Speedy Trial nor has he
22   presented authority that his request for relief is supported under the Speedy Trial Act. The
23   government detailed the procedural history specifically to show the Court that almost all of the time,
24
                                                         9
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 1   for purposes of the Speedy Trial Act, has been tolled and or excluded through stipulations, motions,
 2   attorney substitutions or most recently an appeal. The government calculated that approximately
 3   fifty (50) days of the seventy (70) day time frame have run in terms of the Speedy Trial Act.
 4   Additionally, as noted previously, the government submits it has not been the cause of the delay.
 5           Defendant next argues that pretrial detention cannot be based solely on a finding of
 6   dangerousness. Dkt. #289 at 10. The government submits that pre-trial services recommended
 7   detention at both hearings arguing that there were no conditions or combination of conditions that
 8   will reasonably assure the defendant’s appearance as required and the safety of any other person and
 9   the community. The government agreed with pre-trial services determination and argued for
10   detention on both those grounds at both hearings. The government submits defendant was detained
11   on both grounds.5
12           Defendant next argues the fifth, sixth, and eighth amendments hold that an accused should
13   not be punished before a conviction. Dkt. #289 at 11. This argument was previously addressed
14   when defendant cited to Salerno.6 Here, defendant cites to cases that pre-date Salerno and begins to
15   intersperse other arguments regarding factors that are not relevant for purposes of his requested
16   relief, See Dkt. #289 at 12, and additional arguments where he cites to legal authority from other
17   Circuits and districts and does not indicate how they substantiate his request for relief.
18           Defendant’s next argument is somewhat misplaced as his point regarding immigrants and
19
     5
       The government submits that the Court now has additional information gleaned at the most recent hearing held on
20
     March 24, 2017. At the conclusion of that hearing Magistrate Judge Leen indicated the completion of the hearing but
     defendant refused to be hand cuffed and physically resisted two United States Marshals. Defendant continued to yell out
21   various statements while his mother and stand by counsel raised their voices in return in attempts to have him comply
     with the United States Marshals. Defendant continued to physically resist in an attempt to avoid being hand cuffed for a
22   few minutes. During the altercation defendant called the undersigned AUSA, who was standing near government
     counsels table, a “punk ass bitch” and then stated her first and last name. The United States Marshals ultimately were
     able to hand cuff and remove defendant from the courtroom after a struggle to control him. The government submits
23   these recent facts further weigh in favor of defendant’s pre-trial detention.
     6
       Salerno had an additional holding that the Bail Reform Act authorization of pretrial detention on the ground of future
24   dangerousness was not facially unconstitutional as violative of the Eighth amendment.

                                                               10
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 1   Americans having equal treatment in regards to bond hearings cites to case that deal with individuals
 2   being held for immigration proceedings and are awaiting completion of removal proceeding. That is
 3   not the case here.
 4              The defendant’s last argument is that the government is responsible for the delay in this case.
 5   Dkt. #289 at 14. The government has mostly addressed this issue already. The government has
 6   addressed the three motions to continue trial and how they did not in fact cause delay. The
 7   government has addressed its timing and reasoning for filing an appeal. The government has
 8   addressed defendant’s extensive, piecemeal, and oftentimes repetitive motions filings. Defendant
 9   however ignores the stipulations to continue trial and various filings where he requested additional
10   time to prepare for trial, have an attorney appointed, respond further to motions, file additional
11   motions, and have hearings.
12
                        DEFENDANT’S ANTICIPATED SENTENCING GUIDELINES RANGE
13

14              The government anticipates the defendant will have a base offense level of twenty-four (24).
15   The guideline for a violation of 18 U.S.C. § 922(g)(1) is USSG § 2K2.1. The base offense level is a
16   20, as the defendant committed the instant offense subsequent to sustaining a felony conviction for a
17   crime of violence (Battery with Substantial Bodily Harm in violation of NRS 200.481 – District
18   Court Clark County, Nevada - Case No. C273567). USSG § 2K2.1(a)(4)(A). The government
19   anticipates the defendant’s base offense level will be in increased four levels pursuant to USSG
20   § 2K2.1(b)(6)(B) because the defendant used or possessed a firearm in connection with another
21   felony offense. In this case, a firearm, containing the defendant’s DNA, and to which he admitted
22   possession of post Miranda warnings in a statement to law enforcement7, was recovered from the
23
     7
24       The government notes this admission was ordered suppress by District Judge Gordon and is currently on appeal.

                                                                11
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 1   center console area of the car he was driving. Also recovered from the center console, on top of the
 2   firearm were three baggies of marijuana (approximately 4.1 grams) and three baggies of
 3   methamphetamine (approximately 1.2 grams).8 The defendant was arrested and charged with
 4   violations of NRS 202.360 (Own/possess a firearm by a prohibited person) and 453.337 (Possession
 5   of a Controlled Substance with Intent to Sell – Marijuana and Methamphetamine).9 If the defendant
 6   were to receive reductions for acceptance of responsibility, there is the potential that his adjusted
 7   offense level would be a twenty-one (21). USSG § 3E1.1(a) and (b). However, given the history
 8   and current posture of this case the government does not anticipate said reductions applying.
 9
             In terms of criminal history category, the government anticipates the defendant will be a
10
     category III. The government submits this is only an estimation made based on the information
11
     obtainable via open source court websites a review of the pre-trial services report. The government
12
     has included in its calculations the defendant’s convictions as follows: Battery with substantial
13
     bodily harm (class C felony - NV – 2012)10, driving under the influence (misdemeanor – NV –
14
     2012)11, attempt pandering (gross misdemeanor – NV – 2009)12, attempt theft (gross misdemeanor –
15
     NV – 2009)13, and battery domestic violence (misdemeanor – NV – 2009)14. The government
16
     believes the defendant has additional convictions for obstruction of public official (misdemeanor –
17
     NV – 2006), carry concealed weapon (misdemeanor – NV – 2007), disorderly conduct
18
     (misdemeanor – NV – 2009), solicitation (misdemeanor – NV – 2009), and battery domestic
19

20
     However, the government submits that does not preclude the Court’s consideration of said information/evidence at a
21   detention hearing.
     8
       The narcotics field-tested positive for marijuana and methamphetamine.
     9
22     The facts contained herein are from reports and documents provided in discovery (BATES 001-135).
     10
        USSG § 4A1.1(b) – 2 points
     11
        USSG § 4A1.1(c) – 1 point
23   12
        USSG § 4A1.1(c) - 1 point (USSG 4A1.2 (a)(c)(1)(A))
     13
        USSG § 4A1.1(c) – 1 point
     14
24      USSG § 4A1.1(c) – 1 point

                                                              12
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 1   violence (misdemeanor – NV – 2009) however the government does not believe those convictions
 2   will result in accruing additional criminal history points. The government anticipates the defendant
 3   will be at least a criminal history category III (based on having 6 criminal history points). With a
 4   total offense level of 24 and a criminal history category of III the sentencing guidelines range is 63 –
 5   78 months in custody. If the defendant were to receive the maximum three level reduction for
 6   acceptance of responsibility then the sentencing guidelines range would be 46 – 57 months in
 7   custody. The defendant has been in federal custody since February 24, 2015, a little over 25 months.
 8   The defendant has not been in custody for an amount of time that would constitute a time served
 9   sentence given the potential sentencing guidelines range as anticipated by the government.
10
                                                    CONCLUSION
11

12          WHEREFORE, after consideration of the included facts, points, authorities, and arguments,
13   the United States respectfully requests that this court deny Defendant’s Motion to Reconsider.
14          DATED this 31st day of March 2017.
15
                                                   Respectfully submitted,
16
                                                   DANIEL G. BOGDEN
17                                                 United States Attorney
18                                                        /s/
                                                   ALEXANDRA MICHAEL
19
                                                   Assistant United States Attorney
20

21                                      CERTIFICATE OF SERVICE
22
            I, Alexandra Michael, certify that the following individual was mailed a copy of the
23
     GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO RECONSIDER sent out on or
24
                                                       13
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 1   about this date by the below identified address:
 2   Omar Qazi

 3   NSDC 2190 East Mesquite Avenue Pahrump, Nevada, 89060

 4   DATED:         March 31, 2017

 5

 6
                                                                    /s/
                                                             ALEXANDRA MICHAEL
 7                                                           Assistant United States Attorney

 8

 9

10

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